Case 1:25-cv-00691-RCL Document 75 Filed 07/14/25 Page1of17

Motion To Intervene

RE: Kingdom v Trump, Case No. 1:25cv691 (DDC, Jun 2, 2025)

Comes Now, The plaintiff in the above styled case, petitions this
Honorable Court, pursuant to FRCP 24(a)(b), to allow the plaintiff
to intervene and present as a right, another claim for consideration

before the court.

In the,jnterest of [my] background history, the plaintiff recently
discovered in a legal newsletter circulated among federal prisoners,
of this court's tssuance of its Memorandum Opinion (ECF 67) dated

June 2, 2025.

The court had ordered the Bureau of Prisons to continue to provide
gender affirming care to transgender inmates. The newsletter further

stated that the court has granted a Rule 23 class action certification

This plaintiff is a male to female transgender individual and is
recognized as suchtin the Bureau's SENTRY files. Thus this would

make the plaintiff acmember of this Rule 23 class action.

The plaintiff currently has a Habeas Corpus §2241 petition filed
in the Fifth Circuit concerning the Executive Order number 14168.
(Keys v Trump/Bondi, 2:25-CV-00172 SEC P (Filed 5-23-25)

A WNew Claim

This claim would be a denial of access to the federal courts. The
plaintiffs [all federal prisoners] do not have "real time” daily

access to newly released federal updated caselaw.

About every (30) days each Bureau prison facility receives a "CD"
from the Matthew Bender company, that contains the newly issued

caselaw, though itis at that time, (30) days old. (Exhibit Ete

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In essence, this means that federal prisoners have to "wait"
(30) days to review new caselaw, but in reality, is old caselaw
by the time we read it.Such a long wait may or may not affect

any civil action or criminal appeal the prisoner may currently
have residing in a federal court.

The plaintiff's case in the Fifth Circuit is a prime example of
her ciconstitutional rights being in violation due to the case
law delay, This plaintiff had to wait over (30) days in order to

review caselaw that pertained to Executive Order 14168.

During that wait, the plaintiff could only glimpse pieces of
limited information pertaining to the EO. In about mid Feb-

ruary of 2025, This plaintiff lost her Trulincs email access to
the outside community, for no apparent reason & has had to reapply
to the warden for email approval. I was receiving several legal
type newsletters from others & I could of accessed caselaw with
that email access.. I learned more about the EO #14168, from the
USAToday newspaper!

In reality, it took the plaintiff several months to wait for up-
dated caselaw, then write up the §2241 & file it.

The present case, (Kingdom) is yet another perfect example of a
denial of access to the District of Columbia court. The plaintiff
searched thru the old dated caselaw & could only find a footnote
reference for Kingdom v Trump. The plaintiff has not been able to
review the Kingdom case in its entirety or even read the full
text of the Memorandrum Opinion (ECF 67) issued by the court.
(Source: Pacito v Trump, Lexis 54263, 3-24-25, W.D of Washington
Footnote 1)

This constitutes a denial of access to the federal courts and

in violation of the Fifth, Eighth & Fourteenth Admendments of the U. S.
States Constitution. Irreparable injury attaches as an actual

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injury in play and is imminent, against all incarcerated prisoners

in federal custody.

Tne plaintiff has attempted to exhaust this issue per the PLRA.
I suspect that the Bureau's Central Office remedy coordinator
will return the BP-11 unanswered because the Bureau has long
failed tp recognize C.F.R Title 28 §542.14(d)(5). That section
"5" is not listed in the Bureau's PROGRAM STATEMENT policy.

= Te

But regardless of whether the Bureau acknowledges section "5",
the plaintiff will of have exhausted the remedy grievance pro-
cedure. (quoting: Ross v Blake, 578 U.S. at 643-44) (Ext

Accordingly,

The plaintiff prays the court to recognize the plaintiff's new
claim of denial of access to the courts, as a right under FRCP
24 to intervene & be treated as if "[it] were an original party
and has eqtial-standing with the original parties". (quoting:
Bayshore Truck Sales Inc, 471 F. 3d 1233,1246 (11th Cir. 2006)

The plaintiff prays the court to waive FRCP 24(c) as it pertains
to FRCP Rule 5. The plaintiff does-not have access to all the
parties mailing addresses. The plaintiff has attached a Motion

For Preliminary Injunction regarding this matter.

RESPECTFULLU SUBMITTED,

7 he ee 7-825

Date

Clay “Carla"’ Keys, Pro se

(3)
Case 1:25-cv-00691-RCL Document 75 Filed 07/14/25 Page 4of17

Motion For Injunctive Relief

Federal Rules of Civil Procedure 65 empowers the court to issue
a preliminary injunction. Such injunctive relief is an extra-
ordinary remedy meant to prevent serious & imminent barm in

dire circumstances.

To obtain such relief, the plaintiffs must show (1) a substantial
likelihood of success on the merits, (2) that the plaintiff's
would suffer irreparable injury if the injunction were not granted,
(3) that an injunction would not substantially injury any other
interested parties, and (4) that the public interest would be

furthered by the injunction.

Access to the courts is supposed to be "adequate and effective,
and meaningful. quoting Bounds v Smith, 430 U.S. 817,822, 97
S.Ct. 1491 (1977)

There are three basic kinds of cotittfaccess claims that prisoners

can assert;

1. Right To Assistance Claims: These are claims that prison
officials failed to assist prisoners in bringing legal
actions, by providing law libraries or legal assistance,

as required by the decision in Bounds v Smith;

2. Interference Claims: These are claims that prison officials
or other officials interfered with prisoners’ attempts to

bring or pursue Legal action;
3. Retaliation Claims
The first two apply to the motion for injunctive relief.
The Supreme Court held in Bounds v Smith that prison officials
bave an affirmative obligation to "assist inmates in the prep~

aration & filing of meaningful legal papers by providing

prisoners with adequate law libraries or adequate assistance

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from persons trained in the law".

However, in te Lewis, The Supreme Court imposed several restrict-
ions on prisoners ability to enforce the Bounds v Smith obligition.
Lewis held that a prisoner complaining of a Bounds viédlatton must
sbow that;

1. He was, or is, suffering "actuail injury" by
being "frustrated" or "impeded". quoting
Lewis v Casey, 518 US 343,351-53,116S Ct.

2. in bringing a non-frivolous claim, Lewis,
518 U.S. at°353

3. about bis criminal conviction or sentence or
the conditions of his confinement. quoting
Lew@ts, 518 U.S. at 355

A federal prisoner not baving timely access to updated caselaw,.
demonstrates a severe inadequacy, is very restrictive resulting
in an actual injury to all federal prisoners filing an action

in federal court. Certainly, such an denial of access to updated

caselaw, frustrates & impedes the litigant.

The plaintiff has shown in ber filings, that she had to wait
ttientbs’’ in order to gather caselaw to file her 12241 in the
Fifth Circuit. Multiply that by thousands of other actions filed
by federal prisoners, for many years & you have actual injury.

The plaintiff cannot access the Kingdom v Trump case because
it bas yet to be "updated" & provided through the "CD" update
published by the Matthew Bender Company.

The operations of prison law libraries, et al, is governed by
the "reasonable relationship standard", which lets prison
officials adopt whatever practices or restrictions they choose
as long as they are "reasonably related to legitimate
penological interests" quoting Lewis, 518 U.S. at 361-62 citing
Turner v Safley 482 US 78,107, S CT 2254 (1987)

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Up to about June 13, 2025, the prisoners here at Oakdale FCI
bad access to legal caselaw in the computer rooms that are

situated in every housing unit: where prisoners reside at.

In my building, "Rapides One", we have (6) computerswwecene

use to access trulincs, email staff, reviéw caselaw, et al.

Three of those computers were accessable to review caselaw.
For reasons unknown, Oakdale FCI Trust Fund staff blocked
the icon links to access the caselaw section. Staff imposed

this denial of access in every housing unit.

So, what penological interest did it serve for prison officials

to restrict housing unit caselaw access? None whatsoever.

Such denials to caselaw places the prisoner at a severe dis-

advantage to properly conduct legal research.

But the government aka legal counsel, has real time daily
access to PACER updated caselaw. This gives the government an
unfair advantage in its responsesgto any action the prisoner

may file.

Say hypothetically, the prisoner files a civil or criminal
action in federal court. The prisoner writes up her brief,
citing caslaw(s) to support her claim. Then say, the govern-
ment counsel files a response and being that counsel has real
time daily access to PACER caselaw, they have the better
advantage of using newly issued caselaw the prisoner has not
been able to access because remember, the plaintiff has to
"wait" 30 days or longer to access caselw that might help her

in her action before the court.

Such a scenario supports actual injury.

Last summer, the Bureau contracted to have "wifi" installed

in every housing unit & also at the Education building where

the law library resides at. I hear that wifi has also been ‘ached

(3)
Case 1:25-cv-00691-RCL Document 75 Filed 07/14/25 Page /7of17

at other Bureau prison facilities as well. I spoke with [ then]
Warden Martinez & he told me that the wifi was installed to
allow prisoners to use their SCORE brand computer tablets to
be able to access the TRULINCS bulletin board info, et al,

in the future. It sounds to me that the Wifi could access the
PACER caselaw.

Accordingly,

The plaintiff's pray the court will grant the Motion For
Injunctive Relief & issue a preliminary injunction and order
the defendant, Pamela Bondi, the Attorney General of the United
States, be temperarily enjoined & restricted from denying
federal prisoner's access to the courts through electronic

means and order the following;

1. That the Bureau of Prisons set up & establish a computer
system whereas prisdéners can have daily or near daily
access to the electronically stored information system
(ESI) and to the PACER system that contains daily updated

federal caselaw;

2. Order the Bureau to immediately restore prisoner access

to caselaw on the computers in each housing unit;

3. Grant any other relief the court deems necessary.

Declaration

I declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and

correct .

RESPECTFULLY SUBMITTED,
#
2 Cf 7 -Se2D
a
C Carla Keys, Pro Se Date
(4)

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Motion To Show Cause As To Why The Bureau Of
Prisons Should Not Be Held In Contempt Of Court For Its
Failure To Implement Or Obey The Court's Issued.Order

On or about June 2, 2025, the court issued a preliminary injunction
that ordered the Bureau of Prisons to continue providing hormone
therapy to [lall1] transgender federal prisoners as needed and to
restore access to social accomodations such as hair removal,

chest binders & undergarments, et al.

The court stated "the BOP may not arbitrarily deprive inmates of
medication or other lifestyle accomodations that its own medical

staff have deemed to be medically appropriate"., quote.

Yet, as of July 8, 2025 of this filing, it has been (36) days
since the court issued its order. It is quite obviously that the
BOP is dragging its bureaucratic feet, in implementing or of obey-

ing the court's directive.

The failure to comply to the order in question, violates the
[all] plaintiffs Eighth Amendment constitutional rights, to not

be subjected to a cruel or unusual punishment as a prisoner.

The Bureau's failure to implement the order, the plaintiffs have
suffered irreparable injury that is actual and imminent, as a
result of this unexcusable delay in implementing the court's

order in the preliminary injunction.

The Bureau bas engaged in :., a deliberate indifferent matter.
The Bureau could of easily written up a memorandrum instructing
institutional staff to reinstate gender affirming health care
to transgender prisoners. The Bureau bas chosen purposefully to
drag its feet & should be held accountable for this ongoing

[mis ]conduct.

I petition the court to order the Bureau to to explain why it has

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delayed implementing the court's written order. I seriously
doubt the Bureau can offer any justifiable reason for this
excessive delayed! I request the court bold the appropriate

Bureau officials in civil contempt of court.

RESPECTFULLY SUBMITTED,

Keys PB-OF

C. Carla Keys Date

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Motion For Waiver Of Protection

Identifiers

Pursuant to FRCP 5.2, the plaintiff waives the protection of
Rule 5.2(h), as to the plaintiff's identity and the court may
use her real name as is warranted in any filings. Any futuristic
health care documents the plaintiff may release to the court
though, should be sealed.

RESPECTFULLY SUBMITTED,

C Leys FS-2E

C Carla Keys Pro Se Date

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Motion To Compel

The plaintiff petitions this Honorable Court to order the Bureau
of Prisons to comply with the preliminary injunctive order that
the court issued in its Memorandrum Opinion (ECF 67), that the

Bureau provide gender affirming care to federal prisoners.

The administrative staff here at the Oakdale Federal Correctional
Complex, have yet to implement or obey the court's order and re-
sume providing transgender health care & gender affirming under
garments, to the existing transgender inmates residing at the
Oakdale FCC/FCI I,II & camp.

As the court may review here, is that after the EO 14168 was
implemented nationwide, I wrote the psychology dept and they
confirmed that all transgender services available to its inmates,

was terminated. (Exhibit_5 )

Accordingly, The plaintiff requests that the court ' order
the Bureau to publish the court's Memorandrum Opinion/Preliminary
Injunction reinstating transgender gender affirming health care
and post said information on institution's TRULINCS electronic
bulletin board & publish hard copies to be posted through out

each Bureau prison facilty for federal prisoners to review.

As it has been (36+) days at the time of this filing & of the
court's issuing its order, it is: obvious that the Bureau cannot

be trusted gpon to obey the court's order on its own initiative,

RESPECTFULLY SUBMITTED,

bYS— TS-25

C. Carla’ Keys, Pro se Date

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RE: Matthew Bender Master Agreement

10.0 DEFINITIONS.

10.1 “Agreement” means this Master Agreement together with the Order Form,

10.2 “Distributed Media” means the floppy disc, CD-ROM, DVD-ROM, external hard drive, or
other physical media now existing or developed in the future on which we furnish the Legal
Research Service.

10.3 “Legal Research Service” means, as applicable, (i) the Licensed Program, Materials,
updates made available on Distributed Media or online, and related documentation, whether in
print or electronic form, or (ii) the LexisNexis Matthew Bender Online service available at
www.bender.com. For purposes of this Agreement, “Legal Research Service” does not include
other LexisNexis Company online services such as LexisNexis at www.lexis.com or Nexis at
www.nexis.com.

10.4 “LexisNexis Company” means LexisNexis, a division of Reed Elsevier Inc., Matthew
Bender & Company, Inc., or any company that may become affiliated with them.

16.5 “Licensed Program” means the computer programs, control information and related
software that provide access to the Materials.

10.6 “Materials” means the information contained in the Legal Research Service.

10.7 “Multi-User Network” means a computer system and network under your exclusive
control on which multiple users may access the Legal Research Service concurrently.

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Matthew Bender Master Agreement i
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Case 1:25-cv-00691-RCL Docu g VL hen

“__ Code of Federal Regulations Title 28 §542.14(d)(5)

(4) The inmate shall date and sign the Request and submit it to the institution staff member
‘designated to receive such Requests (ordinarily a correctional counselor). CCC inmates may mail
their Requests to the CCM.

(d) Exceptions to Initial Filing at Institution.

(1) Sensitive Issues. If the inmate reasonably believes the issue is sensitive and the
inmate’s safety or well-being would be placed in danger if the Request became known at the
institution, the inmate may submit the Request directly to the appropriate Regional Director. The
inmate shall clearly mark “Sensitive” upon the Request and explain, in writing, the reason for not
submitting the Request at the institution. If the Regional Administrative Remedy Coordinator
agrees that the Request is sensitive, the Request shall be accepted. Otherwise, the Request will
not be accepted, and the inmate shall be advised in writing of that determination, without a return
of the Request. The inmate may pursue the matter by submitting an Administrative Remedy
Request locally to the Warden. The Warden shall allow a reasonable extension of time for such a

resubmission.

(2) DHO Appeals. DHO appeals shall be submitted initially to the Regional Director for
the region where the inmate is currently located.

(3) Control Unit Appeals. Appeals related to Executive Panel Reviews of Control Unit
placement shall be submitted directly to the General Counsel.

(4) Controlled Housing Status Appeals. Appeals related to the Regional Director’s review
of controlled housing status placement may be filed directly with the General Counsel.

>» (5) Other requests for formal review of decisions not originating from the Warden. Other

than the exceptions listed above, formal administrative remedy requests regarding initial decisions
that did not originate with the Warden, or his/her staff, may be initially filed with the Bureau
office which made the original decision, and appealed directly to the General Counsel.

HISTORY: [44 FR 62250, Oct. 29, 1979; 58 FR 58246, Oct. 29, 1993: 61 FR 86, 88, Jan. 2,
1996; 75 FR 34625, 34626, June 18, 2010]

[EFFECTIVE DATE NOTE:
75 FR 34625, 34626, June 18, 2010, added paragraph (d)(5), effective June 18, 2010.]

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" Program Statements #1330.18 (Date 1-6-2014)

d. Exceptions to Initial Filing at Institution

(1) Sensitive Issues. If the inmate reasonably believes the issue is sensitive and
the inmate’s safety or well-being would be placed in danger if the Request
became known at the institution, the inmate may submit the Request directly to
the appropriate Regional Director. The inmate shall clearly mark “Sensitive”
upon the Request and explain, in writing, the reason for not submitting the
Request at the institution. If the Regional Administrative Remedy Coordinator
agrees that the Request is sensitive, the Request shall be accepted. Otherwise,
the Request will not be accepted, and the inmate shall be advised in writing of
that determination, without a return of the Request. The inmate may pursue the
matter by submitting an Administrative Remedy Request locally to the Warden.
The Warden shall allow a reasonable extension of time for such a resubmission.

(2) DHO Appeals. DHO appeals shall be submitted initially to the Regional
Director for the region where the inmate is currently located.

See the Program Statement Inmate Discipline Program.

(3) Control Unit Appeals. Appeals related to Executive Panel Reviews of Control
Unit placement shall be submitted directly to the General Counsel.

See the Program Statement Control Unit Programs.

(4) Controlled Housing Status Appeals. Appeals related to the Regional
Director's review of controlled housing status placement may be filed directly

with the General Counsel.

See the Program Statement Procedures for Handling HIV Positive Inmates Who Pose Danger
to Other.

9. APPEALS § 542.15

a. Submission. An inmate who is not satisfied with the Warden’s response may
submit an Appeal on the appropriate form (BP-10) to the appropriate Regional
Director within 20 calendar days of the date the Warden signed the response. An
inmate who is not satisfied with the Regional Director’s response may submit an
Appeal on the appropriate form (BP-11) to the General Counsel within 30 calendar
days of the date the Regional Director signed the response. When the inmate
demonstrates a valid reason for delay, these time limits may be extended. Valid
reasons for delay include those situations described in §542.14(b) of this part.

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us rSsy Justice Central Office Administrative Remedy Appeal

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Federal Bureau of Prisons 3 ne
Type or use ball-point pen. If attachments are needed, submit fotir copies. One copy each of the completed BP-229(13) and BP-230(13), including ae ‘attach-
ments must be submitted with this appeal.

Keys; Clay C ef oa 22452-017 R-124L Oakdale I-~
LAST NAME, FIRST, MIDDLE INITIAL... REG. NO. Re UNIT INSTITUTION

Part A-REASONFOR APPEAL Note: I file thia-grievance based on CFR Title 28 §542.14(d)(5). |
This allows me to file the administrative remedy to Central Office, thus bypassing the warden
and Regional Director, as they cannot resolve this issue at those levels. The issue grieved
applies only técthe Bureau's Central Office. (See Exhibit one attached} 2

I grieve the fact that federal inmates are not allowed real time daily access to newly up-
dated federal caselaw. AS the Central Office is aware, Institutions receive a CD about every
30 days & to which contains the new caselaw. I very recently worked on a lesat™ case for the
Fifth Circuit & I had to “wait"over two months to gather old oftdated caselaw in order to
file my legal matter in federal court. Making inmates wait this long constitutes a denial of
access to the courts, in violation of the 5th; ®%th & 14th Admendments.of the US Constitution.
Irreparabte injury as well as deliberate indifference applies. "Wifi" bas been installed at
prisons now & the BOP could easily set it up where inmates could review new federal caselaw
within 24 brs of being issued by the courts, instead of having to wait 30 days to review the
caselaw. Also, on about 6-13-25, Trust Fund staff removed caselaw access from the living
area computers in each bldg where inmates reside. Now we cannot access caselaw after hours &
such inmates that are employed by Unicor & cannot visit the law library daily, now cannot
access caselaw in their living quarters. This needSto be reinstated & a system sef yp for in-
mates to be able to access newly issued caselaw, not 30 days later. Thank you. Y,, oe

7-3-25 DATE 2 C Keys SIGNATURE OF REQUESTER -/ 1 “7 7
Part B - RESPONSE wo

From:

Attached: $542.14(d)(5)

ee ee ee

DATE / 7 2 él f GENERAL COUNSEL
ORIGINAL: RETURN TO INMATE

CASE NUMBER:

Part C - RECEIPT

CASE NUMBER:

Return to:

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
SUBJECT:

Case 1:25-cv-00691-RCL Document 75 Filed 07/14/25 Page 16 ay
Exhibit )
AULINCS 22458017 - KEYS, CLAY C - Unit: OAK-P-A

Bee ee ee ee ee ee ere ne erence meena nanan sae mare em ee SEES SE EEE OE

FROM: Psychology

TO: 22458017

SUBJECT: RE:***Inmate to Staff Message”**
DATE: 05/06/2025 10:52:02 AM

Your messaged has been received. At this time, Health Services is not providing Medical Hormone Treatment. My
understanding is that the Support Therapy class is no longer offered. However, if you need to speak to a psychologist or would
like resources regarding anxiety, depression, etc., please let us know so that we can best assist you.

From: ~“! KEYS, ~AICLAY C <22458017@inmatemessage.com>
Sent: Saturday, May 3, 2025 6:43 PM
Subject: ***Request to Staff*** KEYS, CLAY, Reg# 22458017, OAK-P-A

To: Ms Barber
Inmate Work Assignment: Orderly

Hi. | identify as a transgender and | am listed in SENTRY files as such. | would like to speak with someone about being
evaluated to start receiving hormonal therapy to transition from male to female as a transgender.

Is this possible to receive such hormonal treatment, because on 4-20-25 President Trump signed Executive Order 14168
"Defending Women from Gender Ideology Extremism & Restoring Biological Truth to the Federal Government" and Section 4(c)
states in part, "no federal funds will be expended for any medical procedure, treatment, or drug(s) for the purpose of conforming

an inmate's appearance to that of the opposite sex".

| seek clarification on whether | will be permitted to receive such medical hormonal treatment to transition or not. | assume "not"

based on Section 4(c) but | would like to hear what the psychology dept has to say regarding this issue.
Also, is the transgender support therapy class still being offered at psychology dept?
Thahk you.

Carla Keys
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Certified Mail: 9589 0710 5270 1983 9472 80

Date: 7-08-2025

Clerk, United States Courthouse
333 Constitution Ave NW U

Washington, D.C. 20001 S. Distiict Couit, District of Columbt

RE: Kingdom v Trump, 1:25cv691 (DDC. Jun 2, 2025
Dear Clerk;

Greetings. Find enclosed several motions filed in relation
to the above styled case, in this order;

1. Motion To Intervene (3) pages, with (4) exhibits;

2. Motion For Injunctive Relief, (4) pages, Under Oath;
3. Motion To Show Gause, (2) pages;

4. Motion For Waiverof Protectio + iers.

5. Motion To Compel, (1) page / Looe ]

If I may be of further assistance, Please do not hesitate
to contact me at the address below.

Thank you.

Kind Regards,

Lit —.
LZ

C. Carla Keys #22458-017

Federal Correctional Institution
Po Box 5000
Oakdale, LA. 71463
